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                             UNITED STATES DISTRICT COURT

                                    DISTRICT OF OREGON

                                     PORTLAND DIVISION


 UNITED STATES OF AMERICA                          3:20-cr-00220- SI

                v.                                 INFORMATION

 BECKY STRETCH,                                    18 U.S.C. § 641

                Defendant.

                                THE GRAND JURY CHARGES:

                                            COUNT 1
                                  (Theft of Government Funds)
                                        (18 U.S.C. § 641)

       Between in or about October 1, 2011, and continuing through on or about December 31,

2018, in the District of Oregon, defendant BECKY STRETCH did knowingly and willfully steal

and convert to her own use or the use of another, money of the Social Security Administration, a

department and agency of the United States, to wit: by receiving Social Security Income (SSI)

benefits in an approximate amount of $62,982.00, based on fraudulent representations and

concealments;

       All in violation of Title 18, United States Code, Sections 641.

Dated: July 15, 2020                                Respectfully submitted,

                                                    BILLY J. WILLIAMS
                                                    United States Attorney

                                                    /s/ Rachel K. Sowray
                                                    RACHEL SOWRAY, OSB #095159
                                                    Special Assistant United States Attorney

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